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 5

 6                        UNITED STATES DISTRICT COURT
 7
                           FOR THE DISTRICT OF ARIZONA
 8
     Daniel DeClements and Sam Tuli,            Case No.:
 9
     individually and on behalf of all other
10   similarly situated,
11
                                                   CLASS ACTION COMPLAINT
                  Plaintiff,
12
     vs.                                                    JURY DEMAND
13

14   RE/MAX LLC, a Delaware Limited
15
     Liability Company,

16                Defendant
17
           CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
18
            Plaintiff Daniel DeClements (“Plaintiff DeClements” or “DeClements”) and
19
     Plaintiff Sam Tuli (“Plaintiff Tuli” or “Tuli”) bring this Class Action Complaint
20

21
     and Demand for Jury Trial against Defendant Re/Max, LLC. (“Defendant” or

22   “Re/Max”) to stop Re/Max from directing its realtors to violate the Telephone

23   Consumer Protection Act (“TCPA”), or at the very least from ratifying their
24   realtors’ TCPA violative conduct. Specifically, Re/Max’s realtors use third party
25   lead generating services to mine expired property listings from the Multiple Listing
26   Service (“MLS”). These lead generators use skip-tracing to match cell phone
27   numbers of the owners of those expired listings to the properties to allow realtors
28   to cold call them without consent. These calls are often made using an autodialer
     CLASS ACTION COMPLAINT JURY DEMAND - 1
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 1
     and/or to telephone numbers on the national Do Not Call registry (“DNC”) in
 2
     violation of the TCPA.
 3
           In this case, both Plaintiff DeClements and Plaintiff Tuli received repeated
 4
     telemarketing calls from Re/Max realtors after their respective property listings
 5
     expired, canceled, or otherwise withdrawn on the MLS. As a result, Plaintiff Tuli
 6
     and Plaintiff DeClements seek to obtain injunctive and monetary relief for all
 7
     persons injured by Re/Max’s ratification and endorsement of this pernicious
 8

 9
     telemarketing. Plaintiff DeClements and Plaintiff Tuli, for this Complaint, allege

10
     as follows upon personal knowledge as to themselves and their own acts and

11   experiences, and, as to all other matters, upon information and belief, including
12   investigation conducted by their attorneys.
13                                        PARTIES
14         1.     Plaintiff Daniel DeClements is a resident of Rio Verde, Arizona.
15         2.     Plaintiff Sam Tuli is a resident of Allen, Texas.
16         3.     Defendant Re/Max is a Delaware limited liability company
17   headquartered at 5075 S. Syracuse Street, Denver, CO 80237. Defendant conducts
18   business throughout this District and the United States.
19                            JURISDICTION AND VENUE
20         4.     This Court has federal question subject matter jurisdiction over this
21
     action under 28 U.S.C. § 1331, as the action arises under the Telephone Consumer
22
     Protection Act, 47 U.S.C. §227 (“TCPA”).
23
           5.     This Court has personal jurisdiction over the Defendant since
24
     Defendant conducts business in this district. Venue is proper in this District under
25
     28 U.S.C. § 1391(b) because Plaintiff DeClements resides in this District and
26
     because the wrongful conduct giving rise to this case was directed from and to
27
     Plaintiff DeClements in this District.
28
     CLASS ACTION COMPLAINT JURY DEMAND - 2
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 1
                                COMMON ALLEGATIONS
 2
           6.     In recent years a troubling trend has surfaced in the real estate
 3

 4   industry: cold calling owners of properties who have had their MLS listing expire
 5
     or be canceled or withdrawn.
 6
           7.     However, cold calling consumers without consent using an autodialer
 7

 8   or when their phone numbers are registered on the DNC is a violation of the
 9
     TCPA.
10

11         8.     This recent trend of cold calling homeowners of expired listings has
12
     resulted in many consumers receiving an onslaught of unsolicited telemarketing
13
     calls to their cell phone after their listings expire or otherwise canceled or
14

15   withdrawn, which ties up their phone lines and is a nuisance and aggravation.
16
           9.     Defendant Re/Max is aware of this marketing trend and ratifies
17

18   realtors’ misconduct in a number of ways including (1) endorsing Landvoice as an
19
     “Approved Supplier” of Re/Max to its real estate agents, (2) providing Landvoice
20
     the platform at annual Re/Max events to solicit its service to Re/Max agents, (3)
21

22   endorsing Coach Tom Ferry, who specifically recommends cold calling expired
23
     listing leads through services like Landvoice, as an “Approved Supplier” of
24

25   Re/Max to its real estate agents, and (4) providing courses on Re/Max University
26
     available to all of Re/Max’s agents such as Tom Ferry’s “Breakthrough by Design”
27
     which specifically directs agents to call leads provided by Landvoice.
28
     CLASS ACTION COMPLAINT JURY DEMAND - 3
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 1   Re/Max University
 2
              10.    Re/Max University is a learning resource provided to every Re/Max
 3

 4   agent.
 5
              11.    In 2014, for the third consecutive year, Re/Max University was named
 6

 7
     by Training magazine as one of the best among corporate-sponsored training

 8   programs. 1
 9
              12.    Re/Max has made it clear to its agents through Re/Max University
10

11   that cold calling consumers leads to sales.
12
              13.    There are numerous courses being offered through Re/Max University
13

14
     regarding prospecting, marketing and sales.

15   Approved Suppliers: Landvoice
16

17            14.    Re/Max maintains an Approved Suppliers program for its realtors.
18   According to Re/Max, the Approved Supplier program “offers products and
19   services to help [agents] successfully run [their] business.”2
20            15.    As of February 2019, Landvoice was an “Approved Supplier” of
21   Defendant Re/Max.
22

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     1
         https://www.remax.com/newsroom/press-releases/remax-university-under-new-leadership.htm
28   2
         https://shop.remax.net/collections/approved-suppliers
     CLASS ACTION COMPLAINT JURY DEMAND - 4
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 1
           16.    In fact, in order to ensure that its realtors use Landvoice, Re/Max
 2
     agents are provided with “special Re/Max prices”3 and Re/Max realtors even
 3
     receive a discount of “1/2 off for the 1st month!”4
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19         17.    Landvoice’s leads are aggregated from expired listings from the MLS.
20   Landvoice then uses state-of-the-art technology to “take additional steps to deliver
21   the highest quality and quantity of owner contact information including cell phone
22   numbers.”6 Landvoice uses technology to harvest the owner names of the expired
23   listings and their associated phone numbers (including cell phone numbers and
24

25
     3
26     https://www.landvoicedata.com/remax/
     4
       Id.
27   5
       https://www.landvoicedata.com/remax/
                  6
                      https://www.linkedin.com/company/landvoice/
28
     CLASS ACTION COMPLAINT JURY DEMAND - 5
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 1
     other numbers listed on the DNC) for each lead to ensure that the agent calling has
 2
     the best chance of reaching the individual. (This type of lead gathering
 3
     information has been commonly used by debt collectors for instance who use skip-
 4
     tracing to track every possible contact related to a particular individual.)
 5
            18.     Landvoice’s service includes the automatic loading of the Landvoice-
 6
     generated leads lists, using a sequential number generator, into a “Power Dialer,”
 7
     an automatic telephone dialing system that “dial[s] leads” at a rate of 80 to 300 per
 8

 9
     hour and delivers a pre-recorded message if calls are not answered:7

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27    Landvoice’s lists of leads are also intended by Landvoice to be easily integrated and loaded to
     any autodialer, not just the one provided as part of Landvoice’s service. See blog available at,
28   http://activerain.com/blogsview/1170875/mojo-and-landvoice--we-play-well-together---.
     CLASS ACTION COMPLAINT JURY DEMAND - 6
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              19.    The problem with this whole system is that Landvoice is providing
 2
     multiple phone numbers (including cell phone numbers and numbers listed on the
 3
     DNC) along with access to an autodialer system to agents, and neither Landvoice
 4
     nor the agents have consent to call these consumers’ phone numbers using an
 5
     autodialer in clear violation of the TCPA.
 6
     Notwithstanding, Re/Max has approved Landvoice as one of its “Approved
 7
     Suppliers” to all of its realtors and directs its realtors to use the Landvoice system,
 8

 9
     which by definition knowingly promotes their violating the TCPA.

10
              20.    In addition, Re/Max has included Landvoice as a regular participant in

11   its annual R4 convention which hosts more than 6,000 Re/Max agents:
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21
              21.    Landvoice has also been invited to provide private training sessions
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23   for Re/Max franchises:
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28   8
         https://www.pinterest.com/pin/532409987170717200/
     CLASS ACTION COMPLAINT JURY DEMAND - 7
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         https://www.facebook.com/christoph.malzl.1
     CLASS ACTION COMPLAINT JURY DEMAND - 8
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                22.   Landvoice is not the exclusive lead generation platform that Re/Max

17   agents use to cold call consumers. Other platforms include Vulcan7 and RedX. In
18
     fact, RedX even has authorization to use Re/Max’s logo on its main website:
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          Id.
     CLASS ACTION COMPLAINT JURY DEMAND - 9
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15             23.    Re/Max set the precedent for agents to use programs such as
16   Landvoice in order to generate leads. In doing so, Re/Max ratified the use of
17
     programs like Landvoice for the sake of placing unsolicited calls to consumers.
18

19   Approved Suppliers: SmartZip
20
               24.    Another popular supplier that Re/Max promotes is SmartZip:
21

22   predictive marketing for real estate agents.
23

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28   11
          https://theredx.com
     CLASS ACTION COMPLAINT JURY DEMAND - 10
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14         25.    SmartZip provides agents with a platform that uses predictive
15
     analytics to determine which homeowners are most likely to sell in the next few
16

17
     months based on factors such as divorce, death and other significant life

18   events/changes.13
19
           26.    Using a system such as SmartZip encourages a Re/Max agent to
20

21   contact a consumer before the consumer has even reached out for assistance in
22
     selling their home, providing yet another market of potential leads that have not
23

24

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26
                  12
                       https://shop.remax.net/products/smart-zip
27
                  13
                       http://www.prweb.com/releases/2014/02/prweb11613786.htm
28
     CLASS ACTION COMPLAINT JURY DEMAND - 11
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 1   provided any consent to be called, similar to the leads provided by Landvoice for
 2
     expired listings.
 3

 4         27.    All an agent has to do is look up an area that they are looking to
 5
     represent a home in and use SmartZip to find opportunities for Re/Max agents to
 6

 7
     begin soliciting a sale from the most likely potential homeowners.

 8   Re/Max Coaching: Tom Ferry
 9
           28.    Re/Max coaching and training programs are an integral part of the
10

11   Re/Max franchise system.
12
           29.    Re/Max lists Tom Ferry as an “Approved Supplier” on its main
13

14
     website:

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     CLASS ACTION COMPLAINT JURY DEMAND - 12
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              30.     Ferry’s training is also provided as a significant part of Re/Max
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15   University:
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28   14
          https://shop.remax.net/collections/approved-suppliers?page=2
     CLASS ACTION COMPLAINT JURY DEMAND - 13
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     15
          https://www.youtube.com/watch?v=82YNQx4liYM
28   16
          Id.
     CLASS ACTION COMPLAINT JURY DEMAND - 14
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 1             31.    Ferry is known throughout the real estate industry as an expert when it
 2
     comes to cold calling. In fact, Ferry provides scripts directly to agents, telling the
 3

 4   agents exactly what they should say when placing cold calls to consumers:
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               32.    Relevant to this case, Ferry provides scripts regarding expired listings,

16   telling agents exactly what they should say when placing an unsolicited call to a
17
     consumer with an expired listing:
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28   17
          https://www.tomferry.com/category/real-estate-scripts/
     CLASS ACTION COMPLAINT JURY DEMAND - 15
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13            33.    Coach Tom Ferry specifically trains real estate agents to cold call
14
     expired listings.
15

16
              34.    As Tom Ferry puts it “When pursuing Expireds, persistence pays. It

17   isn’t about calling 100 Expired one time each. You’re much better off calling 10
18
     Expireds 10 times each.”19
19

20            35.    In the Tom Ferry course “Breakthrough by Design” specifically
21
     promoted on Re/Max University, within the coursebook and in Session 1, Tom
22

23
     Ferry provides the tools to succeed, one of which is Landvoice.

24

25

26

27
     18
          http://www.tomferry.com/wp-content/uploads/2016/08/Agent-Script-Book.pdf
28   19
          https://www.tomferry.com/blog/7tips-expireds/
     CLASS ACTION COMPLAINT JURY DEMAND - 16
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     CLASS ACTION COMPLAINT JURY DEMAND - 17
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           36.    By promoting Tom Ferry and his courses to its agents, Re/Max has

15   ratified the core strategies of Ferry, which consists primarily of unsolicited
16
     telemarketing to consumers to drum up business.
17

18         37.    Ferry is an ideal representation of the values and direction Re/Max
19
     provides to its agents. Ferry even regularly promotes and encourages the use of
20

21
     Landvoice (and related systems) to agents.

22         38.    Despite its knowledge of the TCPA, Re/Max still directs and/or
23
     ratifies its realtors’ cold calling, especially towards consumers with expired
24

25   listings, through the directions to use and or ratification of realtors’ use of lead
26
     generation systems and autodialers like Landvoice and trainers like Tom Ferry.
27

28
     CLASS ACTION COMPLAINT JURY DEMAND - 18
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 1
                                  PLAINTIFF TULI’S ALLEGATIONS
 2

 3
              Re/Max Realtors Repeatedly Called Plaintiff Tuli’s Cell Phone
 4
     Numbers Without His Consent, Despite His Numbers Being Listed on the
 5   DNC
 6            39.     Plaintiff Tuli is the subscriber of two telephone numbers that he uses
 7   for personal purposes only, and which he registered with the DNC on August 4,
 8   2007 and September 8, 2011.
 9            40.     One is a cellular phone number and the other is a Google Voice phone
10   number that forwards directly to Plaintiff Tuli’s cell phone.
11            41.     Plaintiff Tuli had a property listed for sale, but he caused the listing to
12
     be taken down by his realtor for a short period of time on July 16, 2018 so the
13
     listing could be changed. Re/Max realtors called him immediately after taking
14
     down his listing to solicit him to re-list his property with them.
15
              42.     Not surprisingly, this is one of the advertised features of Landvoice: to
16
     immediately identify and allow agents to call phone numbers related to “expired”
17
     listings.20
18

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          Landvoice webpage, https://landvoice.com/.
     CLASS ACTION COMPLAINT JURY DEMAND - 19
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15           43.   The following chart provides a breakdown of the calls received by
16   Tuli from Defendant’s agents by phone number, calling phone number, date, and
17   time:
18                    Plaintiff Tuli’s Google DNC Protected Phone Number
19           •     July 17, 2018 at 9:12 AM using phone number 940-453-3585
20           •     July 17, 2018 at 11:52 AM using phone number 972-251-0297
21
             •     July 17, 2018 at 8:18 AM using phone number 940-320-9656
             •     July 18, 2018 at 8:52 AM using phone number 940-320-9656
22
             •     July 18, 2018 at 10:05 AM using phone number 940-453-3585
23           •     July 19, 2018 at 8:48 AM using phone number 940-320-9656
24

25                      Plaintiff Tuli’s Cell Phone DNC Protected Number
26           •     July 18, 2018 using phone number 940-453-3585
             •     July 18, 2018 using phone number 972-251-0297
27
             •     July 18, 2018 using phone number 940-320-9656
28           •     July 19, 2018 at 8:52 AM using phone number 940-320-9656
     CLASS ACTION COMPLAINT JURY DEMAND - 20
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 1          •        July 19, 2018 at 10:05 AM using phone number 940-453-3585
 2          •        July 24, 2018 using phone number 940-453-3585
 3
            44.      The phone calls that Tuli received from 940-453-3585 were from
 4

 5
     Mike Rekart of Re/Max Legacy.

 6          45.      Rekart carries forward the marketing plan established and/or ratified
 7
     by Re/Max’s head office by placing unsolicited calls to consumers with expired
 8

 9   listings.
10
            46.      There are numerous complaints posted online regarding unsolicited
11

12
     calls Rekart placed to consumers regarding expired listings. For example:

13                • “Licensed Real Estate Agent wanting us to relist our house with him.
14                  Won’t. Stop. Calling.”21
                  • “Got a call this morning.”22
15
                  • “I just got a call from this number to my cell phone.”23
16

17
            47.      The phone calls that Tuli received from 972-251-0297 were from

18   Melissa Loan Bui of Re/Max Dallas Suburbs.
19
            48.      Re/Max Dallas Suburbs carries forward the marketing plan
20

21   established and/or ratified by Re/Max’s head office by ensuring that its agents are
22
     trained and guided by Tom Ferry.
23

24

25
                     21
                          https://findwhocallsyou.com/9404533585?CallerInfo
26
                     22
                          https://whocallsme.com/Phone-Number.aspx/9404533585
27
                     23
                          https://800notes.com/Phone.aspx/1-940-453-3585
28
     CLASS ACTION COMPLAINT JURY DEMAND - 21
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 1         49.   The Re/Max Dallas Suburbs Facebook page contains many references
 2
     to Tom Ferry, encouraging agents to learn from Ferry directly. For example:
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                      https://www.facebook.com/pg/DallasSuburbs/posts/?ref=page_internal
28
     CLASS ACTION COMPLAINT JURY DEMAND - 22
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14
                50.   In addition, Ivy Boland, the Broker/Owner of Re/Max Dallas Suburbs
15
     lists herself as a mentor for Tom Ferry, meaning Boland is a mentor for Ferry’s
16

17   coaching practices:
18

19

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28   25
          Id.
     CLASS ACTION COMPLAINT JURY DEMAND - 23
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11
           51.   Tuli was called by 940-320-9656. WhitePages Premium has this
12

13
     phone number listed as Re/Max Advantage, but it is not yet known which agent

14   uses this number.
15

16

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                 26
                      https://www.linkedin.com/in/ivyboland/
28
     CLASS ACTION COMPLAINT JURY DEMAND - 24
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12
           52.      Caller complaints about 940-320-9656 show that the Re/Max

13   Advantage agent that uses this phone number regularly places unsolicited calls to
14
     consumers with expired listings:
15

16               • “Just called the day after we took our house off the market. Never did
                   tell us his name just that he was with Remax, and asked a lot of
17
                   questions about our house and didn’t know anything about it or from
18                 the listing.”28
19
                 • “This person has called me and my husband multiple times and has
20                 contacted my estranged father asking questions about me and my
21                 property that I recently took [off] the market. This has to stop.”29
22

23

24

25
                    27
                         https://premium.whitepages.com/phone/1-940-320-9656
26
                    28
                         https://800notes.com/Phone.aspx/1-940-320-9656
27
                    29
                         https://whocallsme.com/Phone-Number.aspx/9403209656
28
     CLASS ACTION COMPLAINT JURY DEMAND - 25
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 1                    • “unsolicited call asking why we took house off the market.”30
 2
                      • “Some guy calling about property”31
 3

 4                    • “Unsolicited call”32
 5
                53.      Plaintiff Tuli never provided his cellular phone number, or any phone
 6

 7   number to Re/Max, or otherwise consented to any Re/Max agent placing
 8
     solicitation telephone calls to the phone numbers Tuli placed on the DNC.
 9
                54.      On information and belief, many of the calls Tuli received were made
10

11   by an autodialer since multiple Re/Max agencies called him, he received a high
12
     volume of calls, and Re/Max endorses autodialer use.
13

14                                 PLAINTIFF DECLEMENTS’ ALLEGATIONS
15

16
     Re/Max Realtors Called Plaintiff DeClements’ Cell Phone Number
17   Without His Consent Using a Prerecorded Message and/or Autodialer
18
                55.      Plaintiff DeClements had a property listed for sale, but he terminated
19

20   his contract with the realtor that he was working with in the beginning of
21
     September 2019, causing his listing to be removed from the MLS.
22

23

24

25

26
                         30
                              https://www.shouldianswer.com/phone-number/9403209656
27
     31
          Id.
28   32
          Id.
     CLASS ACTION COMPLAINT JURY DEMAND - 26
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 1             56.   On September 2, 2019 at 7:51 PM, the same day DeClements had the
 2
     listing removed, he received a prerecorded voicemail on his cell phone from a
 3

 4   Re/Max agent using phone number 602-413-8195. The prerecorded voicemail
 5
     states:
 6

 7
               “Hello, this is Monique at 602-413-8195. I had a couple of questions

 8             regarding your home and wanted to…” (The voicemail cuts off at this point.)
 9
               57.   DeClements believes this voicemail was prerecorded due to its
10

11   generic nature and the fact that it cuts off prematurely before the full message
12
     plays.
13

14
               58.   602-413-8195 is a phone number used by Monique Walker of Re/Max

15   Excalibur.33
16
               59.   Walker carries forward the marketing plan established and/or ratified
17

18   by Re/Max’s head office by placing unsolicited calls to consumers with expired
19
     listings.
20

21
               60.   This has resulted in numerous consumer complaints that have been

22   posted online. For example:
23
                     • “I continue to receive unwanted and unsolicited calls from
24
                       Monique Walker of ReMax in regards to a real estate listing that
25                     expired LAST YEAR. I am on the National Do Not Call List and
26

27
                     33
                          https://www.moniquesells.com/
28
     CLASS ACTION COMPLAINT JURY DEMAND - 27
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 1                        have filed a number of complaints, but that clearly doesn’t matter
 2                        to this ‘person’.”34
 3
                    • “This agent has been calling my husband and I since 7 am this
 4                    morning.. I call agents vultures now because as soon as listing gets
 5
                      taken off the market they swarm and try to pick it back up…
                      LEAVE US ALONE!! There is a reason our MLS listing says to
 6                    not bother us!!”35
 7
                    • “I forgot my listing expired yesterday. That would explain the
 8
                      sudden calls I’m getting from unknown numbers. I google this one
 9                    and found it belonging to a realtor in Phoenix along with this post.
                      I blocked the number so she won’t be getting through to me
10
                      again… She won’t be calling continually now!”36
11

12                  • “Yes, this is a realtor looking to snag an expired listing. Mine just
                      expired so I suppose I’ll get a lot of these calls.”37
13

14                  • “Same as the rest, early morning call and no voicemail. My house
                      just went off the market a few days ago.”38
15

16                  • “Annoying has calling 7 times even when asked to be removed
17
                      from call list.”39

18            61.   Walker has even posted a video online, encouraging consumers to
19
     relist their homes with her realty franchise after the listing expired:
20

21

22

23

24
                    34
                         https://800notes.com/Phone.aspx/1-602-413-8195
25
     35
26
        Id.
     36
        Id.
     37
27      Id.
     38
        Id.
28   39
        Id.
     CLASS ACTION COMPLAINT JURY DEMAND - 28
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15
           62.    On September 3, 2019, DeClements received an autodialed call from a
16

17   Re/Max realtor on his cell phone using phone number 480-544-4976. After a
18
     pause, and then what seemed to be a difficulty connecting to the realtor, the call
19

20   disconnected, indicating the use of an autodialer. The realtor then called
21
     DeClements back, and after a pause, introduced himself as Michael with Re/Max.
22

23

24

25

26

27
                  40
                       http://moniquewalker1.blogspot.com/2017/
28
     CLASS ACTION COMPLAINT JURY DEMAND - 29
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 1              63.      480-544-4976 is a phone number used by Michael Kent, a Re/Max
 2
     Infinity agent.41
 3

 4              64.      Re/Max Infinity and Michael Kent himself carry forward the
 5
     marketing plan established and/or ratified by Re/Max’s head office by placing
 6

 7
     unsolicited calls to consumers with expired listings.

 8              65.      There are numerous complaints posted about calls consumers have
 9
     received from Kent, including complaints related to expired listings and including
10

11   complaints that show Kent uses an autodialer. For example:
12
                      • “Got several calls over a 10 minute period from this firm, offering to
13                      list a house in Gilbert, AZ, which we never owned. The calls were
14                      placed to my cell phone…”42
15
                      • “Relentlessly harassed me by calling my cell phone several times a
16                      day for about a week. Reported to FTC…”43
17
                      • “number keeps calling no answer and called back no one on the line
18                      annoying sales call”44
19
                      • “I don’t live in Phoenix and do not know anyone who does. Stop
20
                        calling”45
21

22

23

24                       41
                              http://7930camelback703.agentmarketing.com/mlsmax/loans.htm

25                       42
                              https://www.yelp.com/biz/michael-kent-re-max-infinity-chandler

26                       43
                              https://www.facebook.com/pg/TheMichaelKentTeam/reviews/?ref=page_internal

27                       44
                              https://www.reportedcalls.com/report/4805444976

28   45
          Id.
     CLASS ACTION COMPLAINT JURY DEMAND - 30
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 1                  • “This number keeps calling me as well. I have received probably 8
 2                    calls from them in the last 5 days.”46
 3
                    • “This number keeps calling me and I want it to stop.”47
 4

 5                  • “I received 5 calls in the last 24 hours from this number.”48
 6            66.      In addition, Re/Max Infinity itself strongly re-enforces the teachings
 7
     and training of Tom Ferry that Re/Max’s head office promotes.
 8

 9            67.      For example, the Facebook page for Re/Max Infinity contains
10
     numerous references to Tom Ferry’s training, including:
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13

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     46
27      Id.
     47
        Id.
28   48
        Id.
     CLASS ACTION COMPLAINT JURY DEMAND - 31
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27               49
                      https://www.facebook.com/pg/InfinityRealEstateChandler/posts/?ref=page_internal

28   50
          Id.
     CLASS ACTION COMPLAINT JURY DEMAND - 32
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 1
           68.    Plaintiff DeClements has never provided his cellular phone number,
 2
     or any phone number to Re/Max, or otherwise consented to any Re/Max agent
 3
     placing solicitation telephone calls to his cell phone number.
 4
           69.    The unauthorized telephone calls made by Re/Max agents at
 5
     Re/Max’s direction, as alleged herein, have harmed Plaintiff Tuli and Plaintiff
 6
     DeClements in the form of annoyance, nuisance, and invasion of privacy, and
 7
     disturbed the use and enjoyment of their phones, in addition to the wear and tear on
 8

 9
     the phones’ hardware (including the phones’ battery) and the consumption of

10
     memory on the phones.

11         70.    Seeking redress for these injuries, Plaintiff Tuli and Plaintiff
12   DeClements on behalf of themselves and Classes of similarly situated individuals,
13   bring suit under the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.,
14   which prohibits unsolicited prerecorded and autodialed voice calls to cellular
15   telephones, and unsolicited calls to telephone numbers registered on the DNC.
16

17
                                     CLASS ALLEGATIONS
18

19            Class Treatment Is Appropriate for Plaintiffs’ TCPA Claims
20
           71.    Plaintiff Tuli and Plaintiff DeClements bring this action pursuant to
21
     Federal Rules of Civil Procedure 23(b)(2) and 23(b)(3) and seeks certification of
22
     the following three Classes:
23

24                      Prerecorded No Consent Class: All persons in the
25
           United States who from four years prior to the filing of this action (1)
26

27
           at least one of Defendant’s realtors called, (2) using a prerecorded voice,

28
     CLASS ACTION COMPLAINT JURY DEMAND - 33
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 1         (3) for a substantially similar reason that Plaintiff DeClements was
 2
           called, and (4) for whom Defendant claims (a) they obtained prior
 3

 4         express written consent in the same manner as Defendant claims they
 5
           supposedly obtained prior express written consent to call Plaintiff
 6

 7
           DeClements, or (b) they did not obtain prior express written consent.

 8

 9
                        Autodialed No Consent Class: All persons in the United
10

11         States who from four years prior to the filing of this action (1) at least
12
           one of Defendant’s realtors called, (2) on the person’s cellular
13

14
           telephone number, (3) using a calling platform substantially similar to

15         the calling platform used to call Plaintiff Tuli and Plaintiff DeClements,
16
           and (4) for whom Defendant claims (a) they obtained prior express
17

18         written consent in the same manner as Defendant claims they
19
           supposedly obtained prior express written consent to call Plaintiffs Tuli
20

21
           or DeClements, or (b) they did not obtain prior express written consent.

22

23
                        Do Not Call Registry Class: All persons in the United
24

25         States who from four years prior to the filing of this action (1)
26
           Defendant’s realtors called more than one time within any 12-month
27

28
           period, (2) where the person’s residential telephone number had been
     CLASS ACTION COMPLAINT JURY DEMAND - 34
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 1         listed on the DNC for at least thirty days, (3) for a substantially similar
 2
           reason that Plaintiff Tuli was called, and (4) for whom Defendant
 3

 4         claims (a) they obtained prior express written consent in the same
 5
           manner as Defendant claims they supposedly obtained prior express
 6

 7
           written consent to call Plaintiff Tuli, or (b) they did not obtain prior

 8         express written consent.
 9

10         72.    The following individuals are excluded from the Classes: (1) any
11   Judge or Magistrate presiding over this action and members of their families; (2)
12   Defendant, its subsidiaries, parents, successors, predecessors, and any entity in
13   which Defendant or its parents have a controlling interest and their current or
14   former employees, officers and directors; (3) Plaintiffs’ attorneys; (4) persons who
15   properly execute and file a timely request for exclusion from the Classes; (5) the
16   legal representatives, successors or assigns of any such excluded persons; and (6)
17   persons whose claims against Defendant have been fully and finally adjudicated
18   and/or released. Plaintiff Tuli and Plaintiff DeClements anticipate the need to
19   amend the Class definitions following appropriate discovery.
20
           73.    Numerosity: On information and belief, there are hundreds, if not
21
     thousands of members of the Classes such that joinder of all members is
22
     impracticable.
23
           74.    Commonality and Predominance: There are many questions of law
24
     and fact common to the claims of Plaintiff Tuli, Plaintiff DeClements, and the
25
     Classes, and those questions predominate over any questions that may affect
26
     individual members of the Classes. Common questions for the Classes include, but
27
     are not necessarily limited to the following:
28
     CLASS ACTION COMPLAINT JURY DEMAND - 35
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 1
           (a)    whether Defendant ratified its real estate agents’ use of a prerecorded
 2
                  message for calling phone numbers of expired leads without consent
 3
                  violating the TCPA;
 4
           (b)    whether Defendant ratified its real estate agents’ use of an autodialer
 5
                  for calling cell phone numbers of expired leads without consent
 6
                  violating the TCPA;
 7
           (c)    whether Defendant’s real estate agents used an automatic telephone
 8

 9
                  dialing system to make their calls to Plaintiff Tuli, Plaintiff

10
                  DeClements and the members of the Classes;

11         (d)    whether Defendant’s real estate agents systematically made multiple
12                telephone calls to Plaintiff Tuli, and consumers whose telephone
13                numbers were registered with the National Do Not Call Registry;
14         (e)    whether Defendant’s real estate agents made calls to Plaintiff Tuli,
15                Plaintiff DeClements and members of the Classes without first
16                obtaining prior express written consent to make the calls;
17         (f)    whether Defendant is liable under the TCPA for its realtors’ conduct;
18   and
19         (g)    whether members of the Classes are entitled to treble damages based
20   on the willfulness of Defendant’s conduct.
21
           75.    Adequate Representation: Plaintiff Tuli and Plaintiff DeClements
22
     will fairly and adequately represent and protect the interests of the Classes, and has
23
     retained counsel competent and experienced in class actions. The Plaintiffs have no
24
     interests antagonistic to those of the Classes, and Defendant has no defenses
25
     unique to the Plaintiff’s. Plaintiff Tuli, Plaintiff DeClements and their counsel are
26
     committed to vigorously prosecuting this action on behalf of the members of the
27

28
     CLASS ACTION COMPLAINT JURY DEMAND - 36
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 1
     Classes, and have the financial resources to do so. Neither Plaintiff Tuli, Plaintiff
 2
     DeClements or their counsel have any interests adverse to the Classes.
 3
           76.    Appropriateness: This class action is also appropriate for
 4
     certification because Defendant has acted or refused to act on grounds generally
 5
     applicable to the Classes and as a whole, thereby requiring the Court’s imposition
 6
     of uniform relief to ensure compatible standards of conduct toward the members of
 7
     the Classes and making final class-wide injunctive relief appropriate. Defendant’s
 8

 9
     business practices apply to and affect the members of the Classes uniformly, and

10
     Plaintiffs’ challenge of those practices hinges on Defendant’s conduct with respect

11   to the Classes as wholes, not on facts or law applicable only to the Plaintiff’s.
12   Additionally, the damages suffered by individual members of the Classes will
13   likely be small relative to the burden and expense of individual prosecution of the
14   complex litigation necessitated by Defendant’s actions. Thus, it would be virtually
15   impossible for the members of the Classes to obtain effective relief from
16   Defendant’s misconduct on an individual basis. A class action provides the
17   benefits of single adjudication, economies of scale, and comprehensive supervision
18   by a single court.
19                             FIRST CLAIM FOR RELIEF
20
                                Telephone Consumer Protection Act
21
                                    (Violation of 47 U.S.C. § 227)
22     (On Behalf of Plaintiff DeClements and the Prerecorded No Consent Class)
23

24         77.    Plaintiff DeClements repeats and realleges paragraphs 1 through 76 of
25
     this Complaint and incorporates them by reference.
26

27

28
     CLASS ACTION COMPLAINT JURY DEMAND - 37
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 1         78.   Defendant and/or its agents transmitted unwanted solicitation
 2
     telephone calls to Plaintiff DeClements and the other members of the Prerecorded
 3

 4   No Consent Class using a prerecorded voice message.
 5
           79.   These prerecorded voice calls were made en masse without the prior
 6

 7
     express written consent of the Plaintiff DeClements and the other members of the

 8   Prerecorded No Consent Class.
 9
           80.   Defendant has, therefore, violated 47 U.S.C. §§ 227(b)(1)(A)(iii),
10

11   (b)(1)(B). As a result of Defendant’s conduct, Plaintiff DeClements and the other
12
     members of the Prerecorded No Consent Class are each entitled to a minimum of
13

14
     $500 in damages, and up to $1,500 in damages, for each violation.

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     CLASS ACTION COMPLAINT JURY DEMAND - 38
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 1                                  SECOND CLAIM FOR RELIEF
 2
                                Telephone Consumer Protection Act
 3
                                    (Violation of 47 U.S.C. § 227)
 4                  (On Behalf of Plaintiffs and the Autodialed No Consent Class)
 5
           81.    Plaintiff Tuli and Plaintiff DeClements repeat and reallege paragraphs
 6
     1 through 76 of this Complaint and incorporate them by reference.
 7

 8
           82.    Defendant’s realtors made unwanted solicitation telephone calls to

 9
     cellular telephone numbers belonging to Plaintiff Tuli and the other members of

10   the Autodialed No Consent Class using equipment that, upon information and
11   belief, had the capacity to store or produce telephone numbers to be called, using a
12   random or sequential number generator.
13         83.    These solicitation telephone calls were made en masse without the
14   prior express written consent of Plaintiff Tuli and the other members of the
15   Autodialed No Consent Class.
16         84.    Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a
17   result of Defendant’s conduct, Plaintiff Tuli and the other members of the
18   Autodialed No Consent Class are each entitled to a minimum of $500 in damages,
19   and up to $1,500 in damages, for each violation.
20

21                                   THIRD CLAIM FOR RELIEF
22
                                Telephone Consumer Protection Act
23                                  (Violation of 47 U.S.C. § 227)
24                 (On Behalf of Plaintiff Tuli and the Do Not Call Registry Class)
25
           85.    Plaintiff Tuli repeats and reallege paragraphs 1 through 76 of this
26
     Complaint and incorporates them by reference.
27

28
     CLASS ACTION COMPLAINT JURY DEMAND - 39
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 1
           86.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c),
 2
     provides that “[n]o person or entity shall initiate any telephone solicitation” to “[a]
 3
     residential telephone subscriber who has registered his or her telephone number on
 4
     the national do-not-call registry of persons who do not wish to receive telephone
 5
     solicitations that is maintained by the federal government.”
 6
           87.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) is “applicable to
 7
     any person or entity making telephone solicitations or telemarketing calls to
 8

 9
     wireless telephone numbers.”51

10
           88.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to

11   be initiated, telephone solicitations to telephone subscribers such as Plaintiff Tuli,
12   and the Do Not Call Registry Class members who registered their respective
13   telephone numbers on the National Do Not Call Registry, a listing of persons who
14   do not wish to receive telephone solicitations that is maintained by the federal
15   government.
16         89.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff Tuli, and
17   the Do Not Call Registry Class received more than one telephone call in a 12-
18   month period made by or on behalf of Defendant in violation of 47 C.F.R. §
19   64.1200, as described above. As a result of Defendant’s conduct as alleged herein,
20   Plaintiff Tuli, and the Do Not Call Registry Class are each entitled to up to $1,500
21
     in damages for each violation.
22
                                          PRAYER FOR RELIEF
23

24

25

26
     51
27    Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
     Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).
28
     CLASS ACTION COMPLAINT JURY DEMAND - 40
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 1
           WHEREFORE, Plaintiffs Tuli and DeClements, individually and on behalf
 2
     of the Classes, pray for the following relief:
 3
           90.    An order certifying this case as a class action on behalf of the Classes
 4
     as defined above; appointing Plaintiff Tuli and Plaintiff DeClements as the
 5
     representatives of the Classes; and appointing their attorneys as Class Counsel;
 6
           91.    An award of actual and/or statutory damages and costs;
 7
           92.    An order declaring that Defendant’s actions, as set out above, violate
 8

 9
     the TCPA;

10
           93.    An injunction requiring Defendant to cease all unsolicited calling

11   activity, and to otherwise protect the interests of the Classes; and
12         94.    Such further and other relief as the Court deems just and proper.
13                                JURY TRIAL DEMAND
14         Plaintiff Tuli and Plaintiff DeClements request a jury trial.
15

16                Dated: October 23, 2019
17

18                                       By: /s/ Nathan Brown
                                         Nathan Brown
19
                                         Telephone: (602) 529-3474
20                                       Nathan.Brown@BrownPatentLaw.com
                                          Local Counsel for Plaintiff and the putative Class
21

22

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     CLASS ACTION COMPLAINT JURY DEMAND - 41
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     CLASS ACTION COMPLAINT JURY DEMAND - 42
